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                   IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

RAMONA THURMAN BIVINS,                     )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )         Civil Action Number:
                                           )         1:22-cv-04149-WMR
FELICIA FRANKLIN, in her                   )
individual and official capacities;        )
ALIEKA ANDERSON, in her                    )
individual and official capacities;        )
GAIL HAMBRICK, in her                      )
individual and official capacities;        )
and CLAYTON COUNTY,                        )
GEORGIA,                                   )
                                           )
      Defendants.                          )

 DEFENDANT FELICIA FRANKLIN’S CERTIFICATE OF INTERESTED
     PERSONS AND CORPORATE DISCLOSURE STATEMENT
      COMES NOW Felicia Franklin, named as a Defendant it this action in both

her individual and official capacities, by and through her counsel of record, and,

pursuant to Federal Rule 7.1 and Local Rule 3.3, submits her Certificate of Interested

Persons and Corporate Disclosure Statement as follows:

      (1)    The undersigned counsel of record for a party or proposed intervenor

to this action certifies that the following is a full and complete list of all parties,

including proposed intervenors, in this action, including any parent corporation and
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any publicly held corporation that owns 10% or more of the stock of a party or a

proposed intervenor:

      (a)    Plaintiff Ramona Thurman Bivins;

      (b)    Defendant Felicia Franklin, in her individual and official capacities;

      (c)    Defendant Alieka Anderson, in her individual and official capacities;

      (d)    Defendant Gail Hambrick, in her individual and official capacities;

      (e)    Defendant Clayton County, Georgia.

      (2)    The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or corporations

having either a financial interest in or other interest which could be substantially

affected by the outcome of this particular case:

      None other than the parties.

      (3)    The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties, including proposed

intervenors, in this case:

      For the Plaintiff:
      Edward D. Buckley
      Andrew R. Tate
      Buckley Beal LLP
      600 Peachtree Street NE, Suite 3900
      Atlanta, GA 30308
      Telephone: (404) 781-1100
      Facsimile: (404) 781-1101
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      For Defendants Gail Hambrick and Clayton County, Georgia:
      A. Ali Sabzevari
      Kirsten S. Daughdril
      John D. Bennett
      Jack R. Hancock
      Freeman Mathis & Gary, LLP
      100 Galleria Parkway, Suite 1600
      Atlanta, Georgia 30339-5948
      Telephone: (770) 818-0000
      Facsimile: (770) 937-9960

      For Defendant Felicia Franklin:
      Ken E. Jarrard
      Melissa A. Tracy
      Jarrard & Davis, LLP
      222 Webb Street
      Cumming, Georgia 30040
      Telephone: (678) 455-7150
      Facsimile: (678) 455-7149

      For Defendant Alieka Anderson:
      Randall C. Farmer
      Dasha M. Jackson
      Gregory, Doyle, Calhoun & Rogers, LLC
      49 Atlanta Street
      Marietta, GA 30060
      Telephone: (770) 422-1776
      Facsimile: (770) 426-6155

      (4)    [For every action in which jurisdiction is based on diversity under 28

U.S.C. § 1332(a).] The undersigned further certifies that the following is a full and

complete list of the citizenship of every individual or entity whose citizenship is

attributed to a party or proposed intervenor on whose behalf this certificate is filed:

      Not applicable.
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      Submitted this 12th day of December, 2022.


                                             /s/ Melissa A. Tracy
                                             Ken E. Jarrard
                                             Georgia Bar No. 389550
                                             kjarrard@jarrard-davis.com
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com

                                             Counsel for Defendant Felicia
                                             Franklin

JARRARD & DAVIS, LLP
222 Webb Street
Cumming, Georgia 30040
(678) 455- 7150




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the within and foregoing has been prepared in compliance

with Local Rule 5.1(B) in 14-point Times New Roman type face.


                                             /s/ Melissa A. Tracy
                                             Melissa A. Tracy
                                             Georgia Bar No. 714477
                                             mtracy@jarrard-davis.com
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

CERTIFICATE         OF    INTERESTED      PERSONS       AND    CORPORATE

DISCLOSURE STATEMENT in the above-styled civil action with the Clerk of

Court by using the Court’s CM/ECF system, which will automatically send notice

of same to the attorneys of record.

      This 12th day of December, 2022.



                                          /s/ Melissa A.Tracy
                                          Melissa A. Tracy
                                          Georgia Bar No. 714477
                                          mtracy@jarrard-davis.com
